 1                                  UNITED STATES BANKRUPTCY COURT

 2                                  NORTHERN DISTRICT OF CALIFORNIA

 3                                          SAN FRANCISCO DIVISION

 4

 5    In re:                                                  Bankruptcy Case

 6    PG&E CORPORATION,                                       No. 19-30088 (DM)

 7             - and -

 8    PACIFIC GAS AND ELECTRIC                                Chapter 11

 9    COMPANY,                                                (Lead Case)

10                                       Debtors.             (Jointly Administered)

11

12                                      CERTIFICATE OF PUBLICATION

13             I, Jesse Offenhartz, do declare and state as follows:

14             1.        I am employed at Prime Clerk LLC, the claims and noticing agent for the debtors in

15   the above-referenced chapter 11 bankruptcy cases.

16             2.        This Certificate of Publication includes sworn statements verifying that the Notice of

17   Commencement approved by the Bankruptcy Court [Docket No. 226; Exhibit 1], as conformed for

18   publication, was published in the following publications and on the following dates:

19

20                  Publication Name                Date(s) of Publication    Exhibit Evidencing Publication

21    San Francisco Chronicle                       February 13, 2019                     Exhibit A

22    Wall Street Journal National Edition          February 13, 2019                     Exhibit B

23    USA Today National Edition                    February 14, 2019                     Exhibit C
24    Los Angeles Times                             February 14, 2019                     Exhibit D
25    The Press Democrat (Santa Rosa)               February 14, 2019                     Exhibit E
26    The Bakersfield Californian                   February 14, 2019                     Exhibit F
27    The Chico Enterprise-Record and               February 14, 2019                     Exhibit G
      The Oroville Mercury-Register
28    The Sacramento Bee                            February 14, 2019                     Exhibit H


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